Case 1217-cr-20144-C|\/|A Document 26 Entered on FLSD Docket 07/23/2018 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
f Case No. 17-20144-CR-ALTONAGA
UNITED STATES OF AMERICA
vs.

EDISON WASHINGTON PRADO ALAVA,

Defendant.

STIPULATED FACTUAL PROFFER

lf this matter were to proceed to trial, the Govemment would prove the stated facts beyond `
a reasonable doubt. The Parties agree that these facts, which do not include all facts known to
the Government and the Defendant, EDISON WASHINGTON PRADO ALAVA, are sufficient
to prove the guilt for Count One.of Indictment which charges the Defendant with a violation of
Title 21, United States Code, Sections 959(a)(2), 963.

More specifically, from at least as early as in or about December 2015 until at least
February 2017, EDISON WASHINGTON PRADO ALAVA, along with others, used go-fast
vessels (GFV) to ship multiple hundred-kilogram loads of cocaine from Colombia and Ecuador
to countries in Central America. PRADO ALAVA and his co-conspirators delivered the
cocaine to other organizations in Central America for importation into the United States. For
example, starting around January 2016 and continuing up through February 7, 2016, PRADO
ALAVA and others coordinated a shipment of 750 kilograms of cocaine on a GFV from
Colombia to Central America for importation into the United States. PRADO ALAVA knew

that the cocaine would ultimately be imported into the United States.

Case 1:17-cr-20l44-C|\/|A Document 26 Entered on FLSD Docket 07/23/2018 Page 2 of 2

In the conspiracy, PRADO ALAVA is responsible for the shipment or attempted
shipment of at least 5,000 kilograms of cocaine. This cocaine had a street value in Central
America of approximately $9,000 in U.S. currency per kilogram.

PRADO ALAVA has acknowledged his role in the narcotics conspiracy as described
more fully in the indictment and this factual summary.

Accordingly, if this case had gone to trial, the government could prove, beyond a
reasonable doubt, that the defendant did knowingly and intentionally conspire to distribute a
controlled substance, namely five kilograms or more of cocaine, knowing that it would be
unlawfully imported into the United States, in violation of Title 21, United States Code, Section

959(a)(2), all in violation of Title 21, United States Code, Section 963.

BENJAMIN G. GREENBERG
UNITED STATES ATTORNEY

Date_ `T~>:s~\ _ By= Wr\<§

ROBERT J. E R
ASSISTAN IT TVE ATTORNEY

Date: ? 643 /)Y Byt ( \L
. RICHARD J.DIAZ.)@'

ATTORNEY FOR DEFENDANT

 

 

 

 

- Lz~ » 3 Y
Date: :F By: L"a{:€drf” wya¢;n&'?,d” //'¢wé /5 4 ga ~
EDISON WASHINGTON PRADO ALAVA
DEFENDANT

 

 

